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Copyright Transparency Report
At YouTube, supporting the free ﬂow of ideas and creativity is core to our mission to give
everyone a voice and show them the world. With this in mind, we build tools that empower
users to access, create, and share information like never before — giving them more choice,
opportunity, and exposure to a diversity of viewpoints. Today, over 2 billion logged-in users
come to YouTube every month and more than 500 hours of video are uploaded every minute.

YouTube has also given rightsholders opportunities to earn money both from their own and user-generated content through
our subscription-based and advertising-supported models. Our partnerships with major record labels, performing rights
organizations, a multitude of independent labels and music publishers, television networks, and movie studios generate
substantial revenues for the creative industries. Over the last three years, we’ve paid more than $30 billion to creators, artists,
and media companies.

YouTube has over 50 million Premium and Music subscribers, including trialers, across 95 countries as of September 2021,
and because of Content ID, YouTube has created an entirely new revenue stream from ad-supported, user generated content —
paying more than $5.5 billion to rightsholders from ads alone as of December 2020, from content claimed and monetized
through the tool.


                                                                                        ad revenue paid to rightsholders as of
                               To creators, artists, & media
                $30B           companies over last 3 years           $5.5B              December 2020 from content claimed
                                                                                        and monetized through Content ID




YouTube’s Copyright Management Suite
There are three main tools that make up our Copyright Management Suite: the webform, Copyright Match, and Content ID. All
of these tools use technology to prevent the reupload of matching content. We have invested hundreds of millions of dollars to
develop and operate these tools.




 Data as of June 2021                                                                         YouTube Copyright Transparency Report H1 2021   1/13
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                                         Webform
                                         All rightsholders have access to the webform, which we’ve built as a streamlined and eﬃcient way to
                                         submit copyright removal requests, and it is available in 80 languages. It is designed for infrequent
                                         use, such as creators who hold few copyrights and occasionally ﬁnd their content on YouTube. For the
                                         vast majority of rightsholders, the webform is the only tool they need.

While partners with access to Content ID can convert any match (see Content ID below) into a copyright removal request, some
of these partners have access to a set of Studio Content Manager tools and among them is an “Enterprise Webform” that
operates similarly to the public webform available to all channels. Additionally, a small number of rightsholders and anti-piracy
vendors who do not have access to Content ID have access to this Enterprise Webform. They are known as members of the
Content Veriﬁcation Program (CVP.) While these are different entry points, the Enterprise Webform operates like the public
webform where rightsholders or their representatives search YouTube and manually ﬁle a takedown request for content that
potentially infringes their copyright.


                                         Copyright Match Tool
                             After extensive collaboration with creators, we found there was a segment of rightsholders who
                             experienced a higher amount of reposting of their copyrighted content and needed to submit more
                             frequent copyright removal requests. With this in mind, we built the Copyright Match Tool to safely
                             bring the power of Content ID matching technology (described in detail below) to more creators and
rightsholders by providing access to those in the YouTube Partner Program. Creators who have access to the Copyright Match
Tool through the YouTube Partner Program simply need to be the ﬁrst to upload a video to YouTube (they can upload as
public, private, or unlisted).

In October, we upgraded the Copyright Match Tool to also ﬁnd reuploads of videos removed through the webform, so that the
tool isn’t only effective for and available to those willing to upload their video content onto YouTube. At the same time, we
expanded access of this feature to any rightsholder who has submitted a valid copyright removal request through the
webform, so that they will be shown subsequent reuploads of the videos they reported for removal. Since the expansion took
place after the reporting period, the data in this report does not reﬂect these changes.

Those not in the YouTube Partner Program can apply for access to all Copyright Match Tool
features and other tools through the Copyright Management tools application.

For each video match, the Copyright Match Tool shows the user information on total views,
the channel that uploaded it, what percentage of the video is made of their content, and a
                                                                                                                        2M+
                                                                                                               Channels on YouTube have access
few screenshots of the video. We also label the matches to alert claimants if the match has                       to the Copyright Match Tool
different audio from their upload but the same video, which is often the case with “reaction                    Data as of June 2021. In October 2021, we
                                                                                                                 further expanded Copyright Match Tool
videos,” or if it’s only a partial match, meaning their content may have been sampled but the                     access to anyone who has removed a
video is not a simple re-upload. From this interface, users can choose to archive the match                            video through the webform.

and leave the video up, ﬁle a takedown request, or contact the uploader.




*
    A sample of the interface for Copyright Match Tool. Not actual data.

                                                                                                        YouTube Copyright Transparency Report H1 2021       2/13
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                                        Content ID
                                        This is our solution for those with the most complex rights management needs, such as movie
                                        studios, record labels, and collecting societies. Smaller, independent creators who do not meet the
                                        eligibility criteria for Content ID can still access these features through a number of service
                                        providers*. These service providers manage rights through the system on behalf of others, on a daily
                                        basis.

YouTube and its Content ID partners enter into an agreement that sets the parameters for the use of the tool and allows
YouTube to make appropriate use of the copyright owner's content for the purpose of making Content ID function. Partners
provide YouTube with reference ﬁles for the works they own, along with metadata such as the title and detailed ownership
rights. Based on these references, YouTube creates digital "ﬁngerprints" for the copyright owner's works, and then conducts
automated scans of the platform to determine when content in an uploaded video matches the reference content.

Copyright owners and service providers use YouTube's Studio Content Manager—the interface for managing the use of their
content on the platform—to instruct the system to either block, monetize, or track matching content. The Content Manager
interface provides highly granular access control to assist users who have speciﬁc, complex, or even conﬂicting ownership
rights. For example, rights and policies may be speciﬁc to certain countries (e.g., a video may be monetized in one country, and
blocked or tracked in another).

Reference ﬁles that reﬂect ﬂawed or conﬂicting ownership data can create issues among Content ID partners. Content ID is
designed to address these ownership conﬂicts among partners and manage disputes with uploaders. The system creates a
queue of pending claims, for example, when the system is uncertain whether a claim should be made. As a result, Content ID
requires users to make a high level of operational investment, without which other rightsholders could have their rights
impaired and lawful expression could be inappropriately impacted.




*
    https://servicesdirectory.withyoutube.com/                                                          YouTube Copyright Transparency Report H1 2021   3/13
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Everyone Has Access
YouTube has built a suite of Copyright Management tools for all rightsholders, and matches them with the appropriate tool based on the
scale of their copyrighted work on YouTube and the resources they’ve dedicated to operate our tools.

All data is from January 2021 - June 2021 unless otherwise noted




            Key points

                              Webform
                              Anybody with a YouTube account has access to the webform, which means over 2 billion monthly logged-in users. In the ﬁrst
                              half of 2021, over 70% of claimants who used a tool in YouTube's Copyright Management Suite sent removal requests through
                              the copyright webform, which is designed to be an easy option for those with infrequent needs.


                              Copyright Match Tool
                              As of July 2021, over 2 million channels have access to the Copyright Match Tool, which we built for those with more frequent
                              copyright needs. It automatically detects copies of content uploaded to their channel. Following the expansion of the Copyright
                              Match Tool in October 2021 to more users, now anybody with a YouTube account who is in the YouTube Partner Program or
                              has submitted a valid copyright takedown notice is eligible for Copyright Match Tool access.


                              Content ID

                              Content ID is for partners (such as movie studios, record labels, and collecting societies) and service providers who operate at
                              an entirely different scale- over 9,000 partners have access and many have a dedicated team just to operate the tool.
                              The scale of copyright needs for these partners is in a class all by itself, and their content - today’s hit song, scenes from a new
                              movie or the latest viral video - is at the heart of creative reuse on YouTube. Claims from Content ID partners represent over
                              99% of all copyright actions on YouTube.

            Eligibility: Channels in YPP automatically gain access to the Copyright Match Tool and see matches to their uploads. Those
            who have submitted a valid copyright removal request through our webform also gain access to the Copyright Match Tool
            and see matches for videos they've removed through the webform. They can also apply for all scaled copyright tools through
            our Copyright Management tools application.*


The following data demonstrates the relationship between how many people have access to a particular tool, how many
people use that tool, and the scale of their need to manage their copyright on YouTube. We match rightsholders to the tool that
best meets their needs, based in part on how much content on YouTube is subject to their copyright. The public webform is
available to everyone, and used by more people than any other tool.

Those in the YouTube Partner Program and those who have used our public webform successfully become gain access to the
Copyright Match and Tool and thus have the beneﬁt of the most requested feature of Content ID - the ability to automatically
detect potentially infringing content. This feature helps users better detect and manage their copyright through a user-friendly
interface.

Content ID partners are managing content at an entirely different scale and sophistication. Though they represent the smallest
number of users for any of our tools, their actions represent over 99% of all copyright actions on YouTube. This is because their
content - today’s hit song, scenes from a new movie or the latest viral video - is at the heart of creative reuse on YouTube and
is the most likely to be re-uploaded.




*
    https://support.google.com/youtube/contact/copyright_management_tools_form                                        YouTube Copyright Transparency Report H1 2021   4/13
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                                                                                  Exhibit 1.1 – Access and Usage of Copyright Tools
                                                                                  The chart shows the number of rightsholders who have
                                                                                  access to each tool as of July 2021, along with how many
                                                                                  actively used the tool in the ﬁrst half of 2021. In October
                                                                                  2021, we expanded Copyright Match Tool access to anyone
                                                                                  who has submitted a valid copyright takedown request.
                                                                                  That expansion is not shown here.


                                                                                  In some cases, an individual may make copyright removal
                                                                                  requests or make claims using multiple tools (for example,
                                                                                  if they are granted access to Copyright Match Tool after
                                                                                  making successful copyright removal requests via the
                                                                                  webform.) In these cases, they are counted as users of
                                                                                  both tools.*




*
    January 2020 - June 2020


                                                                                  Exhibit 1.2 – Copyright Actions by Tool
                                                                                  This chart shows unique claims or copyright removal
                                                                                  requests made in the ﬁrst half of 2021. Note that some
                                                                                  videos may be subject to multiple claims or removal
                                                                                  requests, such as when an individual video features more
                                                                                  than one copyrighted asset, or multiple parties share
                                                                                  ownership.
                                                                                  A Content ID claim can convert to a copyright removal request at the
                                                                                  claimant's request. In these cases, we have counted them as two
                                                                                  separate actions: one Content ID claim and one copyright removal
                                                                                  request.




*
    January 2021 - June 2021




Eligibility and access

Every logged-in YouTube user, regardless of size or need, has access to the webform, which we built to be a streamlined and
eﬃcient way to submit claims. Google has invested considerable resources into making the webform easy to use and
effective for the vast majority of use cases.

We automatically offer Copyright Match Tool access to channels in the YouTube Partner Program. For these channels, the
tool ﬁnds potential matches of their uploads to YouTube. In October 2021, we extended automatic access to anyone who
submits valid copyright removal requests through our webform - for these cases, the tool detects and surfaces potential
matches of videos removed by the rightsholder. Rightsholders can also apply for all copyright tools via YouTube’s Copyright
Management tools application.* The eligibility criteria for each copyright management tool is described in YouTube’s Help
Center.**

A history of sending YouTube complete and valid copyright removal requests to remove allegedly infringing content serves as
the primary indicator that an applicant both needs scaled tools and understands copyright. Abuse of our webform, or
otherwise invalid use due to a lack of understanding about copyright, is very common.

When YouTube responds to an applicant who completes YouTube’s Copyright Management tools application, YouTube
always explains the tools available to a given applicant. We also indicate that, if the applicant believes they should be eligible
for additional tools, they are welcome to apply again in 90 days. In the interim, the best course of action for any rightsholder
is to make use of the tools we do provide them in order to illustrate that there exists an issue for which they need a more
scaled tool to fully address, that they own rights in the content, and that they understand copyright removal processes. If
an applicant wishes to appeal the initial decision and provide additional information for us to consider, they may respond
directly to the email.

*
    https://support.google.com/youtube/contact/copyright_management_tools_form;
**
     https://support.google.com/youtube/answer/9245819?hl=en                                      YouTube Copyright Transparency Report H1 2021          5/13
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Creating a Balanced Ecosystem
As we work to expand access to more powerful tools in the YouTube Copyright Management Suite, we must balance the need
to protect creators, viewers, and other rightsholders from the signiﬁcant disruption that can result from the abuse or otherwise
invalid use of our tools.

All data is from January 2021 - June 2021 unless otherwise noted, and is preliminary.




             Key points
             YouTube takes steps to prevent abuse or otherwise invalid use of our rights management tools, and also empowers uploaders
             to push back on requests and claims they believe are wrongful. As is demonstrated by our public copyright webform, when we
             make a tool available to everyone without any eligibility requirements, we see high levels of abuse. This is why we must
             balance access to tools against the signiﬁcant disruptions to the ecosystem they can cause.

                                        Over 8% of videos requested for removal through the public webform in the ﬁrst half of 2021 were the

                  30x                   subject of abusive copyright removal requests, meaning these requests were assessed by our review
                                        team as a likely false assertion of copyright ownership. This abuse rate is more than 30 times higher
              Higher abuse rate in
           webform than in takedown
                                        than in other tools with limited access, like the Copyright Match Tool and Enterprise Webform, where it
            tools with limited access   is 0.2% or lower.1

             Similarly, the limited availability of Content ID also helps to limit abuse of that tool. This is especially important because
             claiming can happen automatically, and while one copyright request removal made from the webform impacts only one (or a
             handful) of videos, just one invalid reference ﬁle in Content ID can impact thousands of videos and users, stripping them of
             monetization or blocking them altogether.

             Uploaders are empowered to push back on removals requests they believe are invalid by ﬁling counter notiﬁcations, and they
             can push back on Content ID claims by disputing the claim. Like abuse, pushback from uploaders occurs most often on those
             tools that are available to more people. Uploaders have ﬁled counter notiﬁcations in response to over 5% of removal requests
             from the ﬁrst half of 2021 made through the webform, whereas it’s fewer than 2% for both Enterprise Webform and for
             Copyright Match Tool. Fewer than 1% of all Content ID claims made in the ﬁrst half of 2021 have been disputed, though when
             they are, over 60% of disputes were resolved in favor of the uploader.*



Invalid requests often occur when someone incorrectly submits a copyright removal request due to a lack of understanding of
either copyright law or our tools. Invalid requests can take many forms, such as ﬁling a copyright request for a trademark or
privacy issue, or simply failing to provide the necessary information required to constitute a valid copyright removal request.
For Content ID partners, this occurs when partners unintentionally deliver low-quality reference ﬁles that contain incomplete
metadata, insuﬃciently unique content, or pieces of content that they don’t own exclusively - such as a news broadcast that
contains public domain footage, or a song that uses a licensed beat.

Abuse, on the other hand, occurs when someone is deemed by our review team to have intentionally and maliciously used our
tools in an attempt to remove content from YouTube through a likely false assertion of copyright ownership. Sometimes this
takes the form of political actors attempting to censor political speech or companies stiﬂing criticism of their products or
practices. Other times individuals try to use our copyright processes to bully other creators, or to remove videos they may see
as competing for the same audience.

Regardless of the intent, both invalid requests as well as abuse can cause signiﬁcant disruptions to all members of the
YouTube ecosystem - creators, viewers, and rightsholders. Just one bad copyright webform notice can result in a handful of
videos being temporarily removed from YouTube. In Content ID the impact is multiplied due to its automated nature; one bad
reference ﬁle can impact hundreds or even thousands of videos across the site. In one highly-publicized instance, a news
channel uploaded public domain footage from NASA of a Mars rover and ended up making inappropriate claims against all
other news channels and creators using the same footage, even against the NASA channel itself.
*
    as of July 2021                                                                                          YouTube Copyright Transparency Report H1 2021   6/13
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We have dedicated teams working to detect and prevent abuse or otherwise invalid use of each of our tools. We rely on a
combination of humans and technology to detect suspicious behavior, request additional information where necessary, and
remove reference ﬁles that are low-quality or invalid. We take abuse of our tools seriously—we terminate tens of thousands
of accounts each year that attempt to abuse our copyright tools.

Common types of abusers




         Impersonator                          Reputation Manager              Competitor                              Backdater
         Uses a fake name/ email               Uses DMCA form to               Submits requests on                     Pretends to have created
         address to get away with              remove allegedly                legitimate content to                   content ﬁrst (backdates)
         submitting fake requests              defamatory content              target their competitors                in order to remove other
                                                                                                                       people’s content


Copyright removal requests through Copyright Webform, Copyright Match, and
Content ID

Because it is available to everyone, our copyright webform is subject to a signiﬁcant amount of abuse or otherwise invalid use.
We have a team dedicated to processing copyright removal requests, and when necessary, we request additional information
or deny the request altogether. Below you can see real world examples, anonymized for the report, to see how we respond to
complaints we received.



                          Possible responses by YouTube to a copyright removal request, with examples

Remove: The URL was removed from YouTube                                      Examples:
                                                                              A removal request is accepted by YouTube and the video is removed for
                                                                              copyright under the owner name given in the request.

                                                                              A removal request is received for a video that’s already been removed from
                                                                              YouTube, either by the uploader or for violating another policy.

Abuse: A webform submission that is deemed by our review team to be a         Examples:
likely false assertion of copyright ownership.                                An individual falsely claiming to be a celebrity or a large company.

                                                                              Creator trying to take down a video competing for the same audience.

Invalid Request: There are a number of reasons that requests may be           Examples:
ruled invalid. This may be because the user submitting the request failed     A fan requests a takedown on behalf of a creator, but doesn’t appear to be
to demonstrate they represent the entity they claim to, they failed to        authorized to make claims on their behalf.
consider fair use, fair-dealing or other international equivalents, or they
are trying to address a non-copyright issue (like trademark or other          An individual does not provide necessary information to process a request, for
content moderation issues) through the copyright form.                        example they are not suﬃciently clear about what content in the video they are
                                                                              claiming, or fail to provide the URL of the video that they claim is infringing.

                                                                              A company asserts their logo is infringed, but the logo is a plain wordmark that
                                                                              is appropriate for a trademark removal notice.


Other: In some cases, we hold a request for further review, send a one-off    Examples:
response, or follow a slightly different process because the content was      A movie producer submits a takedown request for a movie, but the movie's
provided to us under license. In these situations, we've categorized them     distributor (who works with the producer) licensed that video to YouTube.
as 'Other.'




                                                                                                               YouTube Copyright Transparency Report H1 2021     7/13
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YouTube actions in response to copyright removal requests by tool




Exhibit 2.1                                       Exhibit 2.2                                       Exhibit 2.3
This chart shows the video-level result of each   This chart shows the video-level result of each   This chart shows the video-level result of each
copyright removal request made in the ﬁrst half   copyright removal request made in the ﬁrst half   copyright removal request made in the ﬁrst half
of 2021 through the webform.*                     of 2021 through the Enterprise Webform.*          of 2021 through the Copyright Match Tool.*




How YouTube protects against wrongful claims

Content ID claims
We also have a dedicated team that monitors for bad reference ﬁles delivered to Content ID. The team uses automated systems
along with manual review to detect reference ﬁles (or segments of reference ﬁles) that may be causing an issue, and requests
partners review them.

The rightsholder can choose to:
-        Exclude the segment from the larger reference ﬁle
-        Remove the entire reference ﬁle
-        Ask our dedicated abuse team to re-review the suspicious ﬂag

If the partner does not respond, the reference ﬁle is marked as invalid and removed from Content ID. When a reference ﬁle (or a
segment) is removed from Content ID, all claims associated with that reference ﬁle (or segment) are released.

There are multiple reasons this can happen, but most often it occurs when partners deliver non-exclusive content, such as
content in the public domain or content they’ve licensed but don’t own. For example, an owner of a late night talk show may
deliver a reference ﬁle of an entire episode of their show, which included a clip of a ﬁlm that one of their interviewees is
promoting, and that clip may inadvertently claim the ﬁlmmaker’s oﬃcial upload of the ﬁlm. Alternatively, reference ﬁles may
capture indistinct sound effects, nature sounds, or content that is in the public domain and not subject to copyright.

Unlike webform requests that are rejected, which only affect one or a handful of videos, the impact of reference ﬁles in Content
ID is multiplied.




*
    as of January 2021                                                                              YouTube Copyright Transparency Report H1 2021   8/13
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How YouTube empowers uploaders to ﬁght wrongful claims


Counter notiﬁcations
Beyond the work YouTube does to prevent abuse or otherwise invalid use, there are also disputes that can only be resolved
between rightsholders. YouTube is not in a position to know whether re-use of content has been authorized by a license,
whether ownership is shared by multiple parties, or held by different parties in different regions. In these cases, recipients of
copyright removal requests or Content ID claims have the ability to counter notify or dispute, respectively.


The ability to counter notify is a requirement of the U.S. DMCA. If an uploader believes they have the required license to use
content or are subject to an exception such as fair use, they can ﬁle a counter notiﬁcation. YouTube is not in a position to
mediate this type of dispute as we are not a court of law; however, counter notiﬁcations are reviewed for completeness and to
ensure they have a clear explanation for why the uploader believes they have all necessary rights for the removed video. If we
accept the counter notiﬁcation, a copy of the notice is sent to the claimant who requested removal of the video(s). After
receiving a counter notiﬁcation, the claimant has 10 business days to provide evidence they’ve initiated a court action to keep
the content down, otherwise we will reinstate the content. This time period is a requirement of copyright law.




 % Counter notiﬁcations received
 This represents the % copyright removal
 requests submitted in each tool, where the
 uploader had responded with a counter
 notiﬁcation asserting that they do have the
 right to keep the video up (as of July 2021).




                                                                                              YouTube Copyright Transparency Report H1 2021   9/13
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Content ID claim resolution
We offer a number of methods for uploaders to address Content ID claims they receive. As of March 2021, uploaders are notiﬁed
through our Checks functionality during the video upload process whether there is material in their video that may result in a
Content ID claim.* Before they publish the video, they may edit out** the content or use the dispute process described below.
These options are also available after a video is published and claimed.
If uploaders feel that their use of claimed content is valid, the Content ID dispute process allows recipients of Content ID claims
to push back and assert their right to upload the content in question. Claimants can respond to disputes by releasing the claim
or upholding it. If a claimant does not respond to a dispute, the claim automatically expires after 30 days. Claims that are upheld
after dispute can be appealed by the uploader, which gives the claimant another 30 days to decide whether to release the claim
or issue a removal request. If the video is removed through this process, uploaders can further pursue remediation by ﬁling a
counter notiﬁcation or seeking a retraction from the claimant.
No system is perfect, and despite the fact that access to Content ID is limited to partners with a demonstrated need for a scaled
solution, working knowledge of copyright, and the necessary resources to manage a complex tool, there are still errors. Fewer
than 1% of all Content ID claims made in the ﬁrst half of 2021 had been disputed as of July 2021. When disputes take place, the
process provided by YouTube provides real recourse, and over 60% of these disputes were resolved in favor of the uploader.




Total Content ID claims


722,649,569
Total # of Content ID claims made in the ﬁrst half of 2021



Total Content ID claims vs
total disputes
This chart shows the total number of
Content ID claims, and the proportion of
those claims that are disputed by the
uploader.

Claimants have 30 days to review the
dispute and decide whether to release the
claim, uphold the claim, or issue a
removal request. If they don’t respond
within 30 days, the claim expires.




Total number of disputes


3,698,019
Total # of disputes of claims above as of July 2021




*
    https://support.google.com/youtube/thread/102365314?hl=en
**
     https://support.google.com/youtube/answer/2902117?hl=en&ref_topic=9257784              YouTube Copyright Transparency Report H1 2021 10/13
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Resolution of disputes
If the claimant chooses to uphold their claim
or ﬁle a copyright removal request in response
to a dispute, the claim is considered to have
resolved in favor of the claimant.


Alternatively, after receiving a dispute the
claimant may choose to release the claim, or
may allow the claim to expire after 30 days. In
either case, the claim is removed from the
video and is considered to have resolved in
favor of the uploader.




38,864
Total # copyright removals originating from the disputes above


If a claimant upholds their claim after the uploader has                   At this stage, the ownership issue has exited the Content
disputed, the uploader can appeal that decision. At this                   ID claim and dispute system built by YouTube, and enters
point the claimant can no longer re-assert their Content ID                the legal removal and remediation process deﬁned by the
claim, and must instead choose to either release the claim                 DMCA and similar applicable laws.
or ﬁle a legal copyright removal request. Additionally, in
some cases, disputes may directly result in a copyright
removal request.




Counter notiﬁcations received
As is the case with all copyright removal
requests received by YouTube, uploaders have
the ability to ﬁle a counter notiﬁcation in
response to the removals above, which is a
legal request for YouTube to reinstate a video.

If we receive a valid counter notiﬁcation the
claimant will have 10 business days to provide
evidence that they’ve initiated a court action to
keep the content down. (see below)


Lawsuits


<1%
Lawsuits from the counter notiﬁcations above

Some claims ultimately have to be adjudicated by a court if the claimant
and uploader still disagree after going through our robust dispute and
counter notiﬁcation processes. As shown, of the 720 million claims we
started with, we're notiﬁed of very few that result in a lawsuit.
                                                                                                YouTube Copyright Transparency Report H1 2021 11/13
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Our Tools Are Cutting Edge
We’ve invested hundreds of millions of dollars to develop powerful tools to help rightsholders manage their content on
YouTube. We’ve also accumulated over a decade of learnings on how to best balance the needs of rightsholders and creators,
and continue to iterate on our tools accordingly.

All data is from January 2021 - June 2021 unless otherwise noted and is preliminary




          Key points
                                 Content ID’s systems automatically detect potential infringement, and additionally some rightsholders can

          99%                    manually search for and claim content not automatically detected. Over 99% of Content ID claims from the
                                 ﬁrst half of 2021 were made through automated detection, with partners’ usage of manual options being
      Content ID claims that
      are made automatically
                                 exceedingly rare (fewer than 0.5% of total claims.)

    When partners do make manual claims on videos not detected by our systems, uploaders are more likely to dispute the claim’s
    validity (fewer than 0.6% of automated claims from the ﬁrst half of 2021 were disputed*, vs. over 1% for manual claims)




Based on reference ﬁles provided by Content ID partners, YouTube creates digital "ﬁngerprints" for the copyright owner's works,
and then conducts automated scans of the platform to determine when content in an uploaded video matches the reference
content. When a match is found, Content ID automatically claims the content. Because of continued investment in our
matching technology, over 99% of all claims made by Content ID in the ﬁrst half of 2021 were automatic.

Despite the power of technology, there are some cases where Content ID fails to identify a match with a user video. This can be
due to uploaders’ efforts to evade Content ID, or due to the ﬂeeting use of the copyrighted work. For videos missed by
automated identiﬁcation, many Content ID partners have the ability to issue claims manually. While this tool covers an
important gap, it accounted for fewer than 1% of Content ID claims made in the ﬁrst half of 2021. For music rightsholders in
particular, the automation rate is even higher. Finally, all channels on YouTube also have access to our copyright removal
webform to request removal of any content not captured by another tool to which they have access.

We’ve spent years tuning our automatic tools to automatically detect reuse of licensed content when appropriate. That said, it’s
impossible for matching technology to take into account complex legal considerations like fair use or fair dealing. Despite that,
claims made manually by partners are more than twice as likely to result in a dispute than claims made automatically.




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Exhibit 3.1 – Automated vs. Manual Content ID Claims                                  Exhibit 3.2 – % Disputes on Automated vs. Manual
The exhibit above shows the number of Content ID claims that were made by automated   Content ID Claims
systems vs. those that were made using manual tools. Out of 720 million claims made   This exhibit shows the % of claims from Exhibit 3.1 that
in the ﬁrst half of 2020, 99.6% were automated and .4% were manual.                   had been disputed as of July 2021, divided between
                                                                                      whether or not the claim was made by Content ID’s
                                                                                      automated systems, or was made by a rightsholder using
                                                                                      Content ID’s manual claiming feature.




Tackling new challenges by continuing to reﬁne our tools
Whether it be fans making reaction videos, aspiring musicians singing covers, or pirates attempting to re-stream a
championship soccer game, we understand that there are countless scenarios where rightsholders need a tool that is
powerful enough to quickly detect reuse and apply the appropriate policy.

Unfortunately, some individual channels attempt to circumvent the system by transforming the content they upload. This
can take many forms, from shifting the pitch of audio, to altering the color, orientation, or surroundings of a video. Below are
some examples of the types of manipulations channels engage in.




                   Original                                   Flipped / Mirrored                               Framed




                Color shifted                                Aspect ratio change                           Light effects


Content ID’s match technology must continually adapt to such efforts, without sacriﬁcing its precision. In other words, in
the effort to locate transformed copies of a given work, it cannot extrapolate so far that it begins to inaccurately sweep in
similar works.



For more information about YouTube's approach to rights management, please visit How YouTube Works.




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